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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

JESSICA TRUITT,                            )
                                           )
              Plaintiff,                   )
                                           )      CASE NO. 1:20-cv-00147-JTA
v.                                         )            (WO)
                                           )
ANDREW SAUL,                               )
Commissioner of Social Security,           )
                                           )
              Defendant.                   )
                                           )

                                          ORDER

       Before the court is Plaintiff’s Motion for Attorney’s Fees filed pursuant to the Equal

Access to Justice Act, 28 U.S.C. § 2412(d). (Doc. No. 21.) The plaintiff is the prevailing

party in this litigation and seeks fees in the amount of $1,209.25 for 6.24 hours of counsel’s

time expended on this litigation.      Defendant Commissioner of Social Security has

informed the court that he does not object to a fee award in this amount. (Doc. No. 24.)

       On May 5, 2008, the Eleventh Circuit Court of Appeals decided Reeves v. Astrue,

526 F.3d 732 (11th Cir. 2008), wherein the Court unambiguously held that “attorney’s fees

are awarded to the prevailing party, not to the prevailing party’s attorney.” Id. at 738. On

June 14, 2010, the United States Supreme Court decided Astrue v. Ratliff, 560 U.S. 586,

130 S. Ct. 2521, 177 L. Ed. 2d 91 (2010), wherein the Court also unambiguously held that

attorney’s fees are awarded to the prevailing litigant – not to prevailing litigant’s attorney

– and are therefore also subject to any offset for debts. Here, counsel for the plaintiff

requests that the check be mailed to her office. In light of the foregoing, the court has no
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concerns with that request so long as the check is made payable to the plaintiff.

       Accordingly, upon consideration of the motion, and for good cause, it is hereby

       ORDERED as follows:

       1. The Motion for Attorney’s fees pursuant to the Equal Access to Justice Act (Doc.

          No. 21) is GRANTED.

       2. The plaintiff is hereby AWARDED fees in the amount of $1,209.25.

       3. The check should be mailed to Jessica Truitt c/o Anna L. King, Ludlum & King,

          LLC, P.O. Box 1809, Auburn, Alabama 36831.

       DONE, this 12th day of January, 2021.



                                   /s/ Jerusha T. Adams
                                   JERUSHA T. ADAMS
                                   UNITED STATES MAGISTRATE JUDGE
